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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION
                                 (electronically filed)

UNITED STATES OF AMERICA                                                          PLAINTIFF

V.                                                                       NO. 3:21-CR-17-DJH

QUENTIN MCDOUGLE                                                                DEFENDANT



                                          ORDER


       Motion having been made, and with this Court being otherwise sufficiently advised;

       IT IS HEREBY ORDERED that the foregoing motion is GRANTED.

       IT IS FURTHER ORDERED that Quentin McDougle is allowed to work as a delivery

driver for Luxrae.
